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               ORAL ARGUMENT NOT YET SCHEDULED
                          No. 22-1142

              UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT

                       GRAYSCALE INVESTMENTS, LLC,

                                             Petitioner,
                                        v.

                   SECURITIES AND EXCHANGE COMMISSION,

                                             Respondent.


On Petition for Review of an Order of the Securities and Exchange Commission

COINBASE, INC. NOTICE OF INTENT TO FILE AS AMICUS CURIAE IN
                  SUPPORT OF PETITIONER

HAIMAVATHI V. MARLIER                    JOSEPH R. PALMORE
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OCTOBER 18, 2022
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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure and Circuit

Rule 26.1, amicus states as follows:

      Coinbase, Inc. is a leading provider of financial infrastructure and technology

for the crypto economy, and is one of four digital asset trading platforms that

provides pricing data to the index provider for petitioner Grayscale Investments,

LLC’s Grayscale Bitcoin Trust.         Coinbase, Inc. is a Delaware corporation.

Coinbase, Inc. is a wholly owned subsidiary of Coinbase Global, Inc., a public

company (NASDAQ: COIN). No publicly held company owns 10% or more in

Coinbase Global, Inc.’s stock.




Dated: October 18, 2022                             /s/ Joseph R. Palmore
                                                      Joseph R. Palmore
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              NOTICE OF INTENT TO FILE AS AMICUS CURIAE

         Pursuant to Fed. R. App. P. 29(a), Circuit Rule 29(b), and Section IX(A)(4)

of this Court’s Handbook of Practice and Internal Procedures, Coinbase, Inc.

respectfully notifies the Court of its intent to file an amicus curiae brief in this matter

in support of Petitioner.

         Coinbase, Inc. (“Coinbase”) is a leading provider of financial infrastructure

and technology for the crypto economy, built on the idea that anyone, anywhere,

should be able to easily and securely send and receive cryptocurrency. Coinbase’s

platform serves more than nine million monthly transacting retail users, 14,500

institutions, and 245,000 ecosystem partners participating in the digital asset

economy. Coinbase is one of four digital asset trading platforms that provides

pricing data to the index provider for Petitioner Grayscale Investments, LLC’s

Grayscale Bitcoin Trust. Coinbase submitted comments to the Securities and

Exchange Commission in the proceedings at issue here. Coinbase is part of the

broader crypto-economy that will be harmed by the Commission’s disapproval

order.

         The proposed amicus brief will not exceed 6,500 words or repeat facts or legal

arguments made and adequately elaborated upon in the principal briefs. The parties

each have consented to the filing of the proposed amicus brief.
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Dated: October 18, 2022                   Respectfully submitted,

                                         /s/ Joseph R. Palmore
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                         CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of the

Court for the United States Court of Appeals for the District of Columbia Circuit

by using the CM/ECF system on October 18, 2022.

      I certify that all participants in the case are registered CM/ECF users and

that service will be accomplished by the CM/ECF system.



Dated: October 18, 2022                              /s/ Joseph R. Palmore
                                                       Joseph R. Palmore
